                       Case 22-13983-PDR          Doc 25     Filed 07/14/22     Page 1 of 3

                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION

                                                                                 CASE NO.: 22-13983-BKC-PDR
                                                                              PROCEEDING UNDER CHAPTER 13

IN RE:

ANNETTA MCCALLA
XXX-XX-1546
CURTIS MCNEAL
XXX-XX-2479

_____________________________/
DEBTORS

                         TRUSTEE'S MOTION TO DISMISS AND CERTIFICATE OF
                         SERVICE OF COURT GENERATED NOTICE OF HEARING

    COMES NOW, Robin R. Weiner, Standing Chapter 13 Trustee in the above-referenced bankruptcy
case ("Trustee"), and files her Motion to Dismiss pursuant to 11 U.S.C. §1307(c) for the reason(s) set forth
below:

   1.    The automatic stay was not extended pursuant to 11 U.S.C. §362(c)(3) or imposed pursuant to 11
         U.S.C. §362(c)(4);

     WHEREFORE, your movant recommends it is in the best interest of the creditors and the estate that
this petition under Chapter 13 be dismissed.

   I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Trustee's Motion to
Dismiss and Certificate of Service of Court Generated Notice of Hearing was served, via U .S. first class
mail, certified mail and/or CM/ECF, upon the parties listed on the attached service list this 14th day of July,
2022.

                                                                        /s/ Robin R. Weiner
                                                                        _____________________________________
                                                                        ROBIN R. WEINER, ESQUIRE
                                                                        STANDING CHAPTER 13 TRUSTEE
                                                                        P.O. BOX 559007
                                                                        FORT LAUDERDALE, FL 33355-9007
                                                                        TELEPHONE: 954-382-2001
                                                                        FLORIDA BAR NO.: 861154
                  Case 22-13983-PDR   Doc 25   Filed 07/14/22   Page 2 of 3
                                                                              MOTION TO DISMISS
                                                                       CASE NO.: 22-13983-BKC-PDR

                                      SERVICE LIST

COPIES FURNISHED TO:

DEBTORS
ANNETTA MCCALLA
CURTIS MCNEAL
1251 NW 51 AVE
LAUDERHILL, FL 33313

ATTORNEY FOR DEBTORS
PRO-SE


CREDITOR(S)
LVNV FUNDING, LLC
C/O RESURGENT CAPITAL SERVICES
POB 10587
GREENVILLE, SC 29603-0587

MIDLAND CREDIT MANAGEMENT INC
POB 2037
WARREN, MI 48090

MR. COOPER
PO BOX 619094
DALLAS, TX 75261-9741

PNC BANK
PO BOX 3180
PITTSBURGH, PA 15222

QUANTUM3 GROUP LLC AS AGENT FOR
CF MEDICAL LLC
POB 2489
KIRKLAND, WA 98083

QUANTUM3 GROUP, LLC
CF MEDICAL LLC
POB 788
KIRKLAND, WA 98083-0788

ROBERTSON ANSCHUTZ & SCHNEID
6409 CONGRESS AVE., SUITE 100
BOCA RATON, FL 33487
                 Case 22-13983-PDR   Doc 25   Filed 07/14/22   Page 3 of 3
                                                                             MOTION TO DISMISS
                                                                      CASE NO.: 22-13983-BKC-PDR

SUNTRUST BANK NOW TRUIST BANK
TRUIST BANK - DDA RECOVERY
POB 85041
RICHMOND, VA 23285

TD BANK
PO BOX 1448
GREENVILLE, SC 29602

TRUIST BANK
SUPPORT SERVICES
POB 85092
RICHMOND, VA 23286
